     Case 2:17-cv-00156-JLQ         ECF No. 19       filed 08/08/17     PageID.113 Page 1 of 10



 1
     Joshua B. Swigart, Esq.
 2   Sarah T. McEahern, Esq.
 3   HYDE & SWIGART
     2221 Camino Del Rio S. Ste. 101
 4   Telephone: (619) 233-7770
 5   FAX: (800) 635-6425
     Email: josh@westcoastlitigation.com
 6          sm@westcoastlitigation.com
 7   Attorneys for Susan Embree
 8                           UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF WASHINGTON
10
11        Susan Embree,                                         Case No.: 2:17-cv-00156-JLQ
12
                          Plaintiff,
13        v.
                                                                FIRST AMENDED
14
          Ocwen Loan Servicing, LLC,                            COMPLAINT
15
                          Defendant.
16
17
18
19
20
21
                                             INTRODUCTION
22
     1.        The Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §227 et seq.
23
               was designed to prevent calls like the ones described within this
24
               complaint, and to protect the privacy of citizens like Plaintiff. In enacting
25
               the TCPA, Congress intended to give consumers a choice as to how
26
               creditors and telemarketers may call them, and made specific findings that
27
               “[t]echnologies that might allow consumers to avoid receiving such calls
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     Case 2:17-cv-00156-JLQ         ECF No. 19       filed 08/08/17     PageID.114 Page 2 of 10



 1          are not universally available, are costly, are unlikely to be enforced, or
 2          place an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, §
 3          11.
 4   2.     Toward this end, Congress found that:
 5                [b]anning such automated or prerecorded telephone calls to
 6                the home, except when the receiving party consents to
                  receiving the call or when such calls are necessary in an
 7                emergency situation affecting the health and safety of the
 8                consumer, is the only effective means of protecting
                  telephone consumers from this nuisance and privacy
 9                invasion.
10
                  Id. at § 12; see also Martin v. Leading Edge Recovery
11                Solutions, LLC, 2012 WL 3292838, at *4 (N.D. Ill. Aug. 10,
12                2012) (citing Congressional findings on TCPA’s purpose).
13   3.     Congress also specifically found that “the evidence presented to Congress
14          indicates that automated or prerecorded calls are a nuisance and an
15          invasion of privacy, regardless of the time of call….” Id. at §§ 12-13. See
16          also, Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
17   4.     Plaintiff Susan Embree, by Plaintiff’s attorneys, brings this action to
18          challenge the conduct of Ocwen Loan Servicing, LLC (“Ocwen” or
19          “Defendant”), with regard to attempts by Defendant to unconscionably and
20          abusively collect a debt allegedly owed by Plaintiff.                   Further, Plaintiff
21          brings this action for damages and any other available legal or equitable
22          remedies resulting from the actions of Defendant in its negligent and/or
23          willful violations of the TCPA.
24   5.     The statute of limitations is tolled due to the commencement of a class
25          action based on the same or similar allegations in the matter of Keith
26          Snyder, on behalf of himself and all others similarly situated v. Ocwen
27          Loan Servicing, LLC, Case No. 1:14-cv-8461, filed against Defendant on
28     _________________________________________________________________________________________________
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     Case 2:17-cv-00156-JLQ         ECF No. 19       filed 08/08/17     PageID.115 Page 3 of 10



 1          October 27, 2014 in the Northern District of Illinois. See American Pipe &
 2          Construction Co v. State of Utah, 414 U.S. 538 (1974).
 3   6.     Plaintiff makes these allegations on information and belief, with the
 4          exception of those allegations that pertain to Plaintiff, or to Plaintiff’s
 5          counsel, which Plaintiff alleges on personal knowledge.
 6   7.     While many violations are described below with specificity, this
 7          Complaint alleges violations of the statutes cited in their entirety.
 8   8.     Any violations by Defendant were knowing, willful, and intentional, and
 9          Defendant did not maintain procedures reasonably adapted to avoid any
10          such violation.
11                                    JURISDICTION AND VENUE
12   9.     Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 47 U.S.C. §
13          227(b), and 28 U.S.C. § 1367 for supplemental state law claims.
14   10.    This Court has federal question jurisdiction because this action arises out
15          of Defendant’s violations of federal law. 47 U.S.C. § 227(b); Mims v.
16          Arrow Fin. Servs. LLC, 132 S. Ct. 740 (2012).
17   11.    Because Defendant conducts business within the State of Washington,
18          personal jurisdiction is established.
19   12.    Venue is proper in the United States District Court for the Eastern District
20          of Washington pursuant to 28 U.S.C. § 1391(b) because Defendant
21          conducts business within this judicial district.
22                                               PARTIES
23   13.    Plaintiff is, and at all times mentioned herein was, a resident of the City of
24          Newman Lake, County of Spokane, State of Washington.
25   14.    Plaintiff is, and at all times mentioned herein was, a “consumer” as defined
26          by 47 U.S.C. § 153 (39).
27   15.    Defendant has its principal place of business in the City of West Palm
28          Beach, in the State of Florida.
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 1   16.     Defendant is, and at all times mentioned herein was, a limited liability
 2           company and a “person,” as defined by 47 U.S.C. § 153 (39).
 3                                             STANDING
 4   17.     Standing is proper under Article III of the Constitution of the United States
 5           of America because Plaintiff’s claims state:
 6               a. a valid injury in fact;
 7               b. which is traceable to the conduct of Defendant;
 8               c. and is likely to be redressed by a favorable judicial decision.
 9           See, Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016), and Lujan v.
10           Defenders of Wildlife, 504 U.S. 555, 560 (1992).
11   18.     In order to meet the standard laid out in Spokeo and Lujan, Plaintiff must
12           clearly allege facts demonstrating all three prongs above.
13         A. The “Injury in Fact” Prong
14   19.     Plaintiff’s injury in fact must be both “concrete” and “particularized” in
15           order to satisfy the requirements of Article III of the Constitution, as laid
16           out in Spokeo (Id.).
17   20.     For an injury to be “concrete” it must be a de facto injury, meaning that it
18           actually exists.      In the present case, Plaintiff was called on Plaintiff’s
19           cellular phone by Defendant. Such calls are a nuisance, an invasion of
20           privacy, and an expense to Plaintiff. Soppet v. Enhanced Recovery Co.,
21           LLC, 679 F.3d 637, 638 (7th Cir. 2012). All three of these injuries are
22           concrete and de facto.
23   21.     For an injury to be “particularized” means that the injury must “affect the
24           plaintiff in a personal and individual way.” Spokeo, 136 S. Ct. at 1548. In
25           the instant case, it was Plaintiff’s phone that was called and it was Plaintiff
26           who answered the calls. It was Plaintiff’s personal privacy and peace that
27           was invaded by Defendant’s persistent phone calls using an ATDS.
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     Case 2:17-cv-00156-JLQ         ECF No. 19       filed 08/08/17     PageID.117 Page 5 of 10



 1         B.      The “Traceable to the Conduct of Defendant” Prong
 2   22.        The second prong required to establish standing at the pleadings phase is
 3              that Plaintiff must allege facts to show that Plaintiff’s injury is traceable to
 4              the conduct of Defendant.
 5   23.        In the instant case, this prong is met simply by the fact that the calls to
 6              Plaintiff’s cellular phone were placed either, by Defendant directly, or by
 7              Defendant’s agent at the direction of Defendant.
 8         C. The “Injury is Likely to be Redressed by a Favorable Judicial
 9               Opinion” Prong
10   24.        The third prong to establish standing at the pleadings phase requires
11              Plaintiff to allege facts to show that the injury is likely to be redressed by a
12              favorable judicial opinion.
13   25.        In the present case, Plaintiff is making a request for damages for each call
14              made by Defendant, as authorized by statute in 47 U.S.C. § 227. The
15              statutory damages were set by Congress and specifically redress the
16              financial damages suffered by Plaintiff.
17   26.        Furthermore, Plaintiff is requesting injunctive relief to restrain Defendant
18              from the alleged abusive practices in the future. The award of monetary
19              damages and the order for injunctive relief redress the injuries of the past,
20              and prevent further injury in the future.
21   27.        Because all standing requirements of Article III of the U.S. Constitution
22              have been met, Plaintiff has standing to sue Defendant on the stated
23              claims.
24                                     FACTUAL ALLEGATIONS
25   28.        Between November 22, 2011 through December 16, 2015 Defendant
26              called Plaintiff on Plaintiff’s cellular telephone number ending in 5931 via
27              an “automatic telephone dialing system” (“ATDS”), as defined by 47
28     _________________________________________________________________________________________________
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     Case 2:17-cv-00156-JLQ         ECF No. 19       filed 08/08/17     PageID.118 Page 6 of 10



 1          U.S.C. § 227(a)(1), using an “artificial or prerecorded voice” as prohibited
 2          by 47 U.S.C. § 227(b)(1)(A).
 3   29.    This ATDS has the capacity to store or produce telephone numbers to be
 4          called, using a random or sequential number generator.
 5   30.    When Plaintiff would answer the calls from Defendant, there would often
 6          be a silence, sometimes with a click or a beep-tone, before an Ocwen
 7          representative would pick up and start speaking.
 8   31.    Sometimes, Plaintiff would receive calls from Defendant in which the
 9          caller was a recorded voice or message, rather than a live representative.
10   32.    In total, Plaintiff has received at least 1,505 calls from Defendant on
11          Plaintiff’s cellular telephone.
12   33.    Plaintiff frequently received multiple calls in a single day. For example,
13          Plaintiff received 19 calls in one week in March 2015, averaging 2.7 calls
14          per day.
15   34.    Defendant did not have consent for any of these calls, as Plaintiff did not
16          provide her cellular telephone number to Defendant or their predecessors
17          on any loan application.
18   35.    Plaintiff also revoked any type of prior express consent, if prior express
19          consent ever existed, by stating that Plaintiff no longer wished to be
20          contacted by phone.
21   36.    Plaintiff answered several of the above mentioned autodialed telephone
22          calls from Defendant and asked Defendant to stop calling. Despite this
23          clear and unmistakable request, the calls continued without interruption.
24          Each of these requests terminated any express or implied consent that
25          Defendant may have had prior to beginning its campaign of harassment by
26          telephone.
27   37.    The calls by Defendant to Plaintiff’s cell phone continued, even after
28          Plaintiff’s oral revocation.
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                                                                                 619-233-7770
     Case 2:17-cv-00156-JLQ         ECF No. 19       filed 08/08/17     PageID.119 Page 7 of 10



 1   38.    Each of these calls was an attempt to collect on a consumer debt allegedly
 2          due and owing by Plaintiff.
 3   39.    These calls were made by Defendant or Defendant's agent, with
 4          Defendant's permission, knowledge, control, and for Defendant's benefit.
 5   40.    As a result, the telephone calls by Defendant, or its agent(s), violated 47
 6          U.S.C. § 227(b)(1).
 7   41.    Through Defendant’s actions, Plaintiff suffered an invasion of a legally
 8          protected interest in privacy, which is specifically addressed and protected
 9          by the TCPA.
10   42.    Plaintiff was personally affected, becoming frustrated and distressed that,
11          despite telling Defendant to stop calling Plaintiff’s cellular phone,
12          Defendant continued to harass Plaintiff with collection calls using an
13          ATDS.
14   43.    Plaintiff also experienced feelings of hopelessness, as many of the calls
15          were prerecorded messages, and she could not reach a live operator to
16          renew her request for the calls to stop.
17   44.    The unrelenting, repetitive calls disrupted Plaintiff’s daily activities and
18          the peaceful enjoyment of Plaintiff’s personal and professional life,
19          including the ability to use Plaintiff’s phone. Specifically, Plaintiff only
20          uses her cellular phone for personal and family calls.
21   45.    The calls placed by Defendant to Plaintiff were extremely intrusive,
22          including Plaintiff’s relationships with close family members. Specifically,
23          Plaintiff began to ignore or send to voicemail many incoming calls from
24          unknown numbers, out of frustration in dealing with Defendant's unwanted
25          and intrusive calls. In doing so, Plaintiff missed important communications
26          from friends and family.
27   46.    Defendant intruded on Plaintiff’s personal life by calling her cellular
28          phone because Plaintiff was unable to get away from the calls, as she
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                                                                                 619-233-7770
     Case 2:17-cv-00156-JLQ         ECF No. 19       filed 08/08/17     PageID.120 Page 8 of 10



 1          carried her cellular phone with her. The calls interrupted her wherever she
 2          went.
 3                                        CAUSES OF ACTION
 4                                               COUNT I
 5                               NEGLIGENT VIOLATIONS OF THE
 6                    TELEPHONE CONSUMER PROTECTION ACT (TCPA)
 7                                           47 U.S.C. § 227
 8   47.    Plaintiff incorporates by reference all of the above paragraphs of this
 9          Complaint as though fully stated herein.
10   48.    The foregoing acts and omissions of Defendant constitute numerous and
11          multiple negligent violations of the TCPA, including but not limited to
12          each and every one of the above-cited provisions of 47 U.S.C. § 227 et
13          seq.
14   49.    As a result of Defendant's negligent violations of 47 U.S.C. § 227 et seq.,
15          Plaintiff is entitled to an award of $500.00 in statutory damages, for each
16          and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
17   50.    Plaintiff is also entitled to and seeks injunctive relief prohibiting such
18          conduct in the future.
19                                               COUNT II
20                             KNOWING AND/OR WILLFUL OF THE
21                    TELEPHONE CONSUMER PROTECTION ACT (TCPA)
22                                           47 U.S.C. § 227
23   51.    Plaintiff incorporates by reference all of the above paragraphs of this
24          Complaint as though fully stated herein.
25   52.    Each call after Plaintiff requested Defendant stop calling Plaintiff’s cell
26          phone constitutes a knowing and/or willful violation of the TCPA.
27   53.    The foregoing acts and omissions of Defendant constitute numerous and
28          multiple knowing and/or willful violations of the TCPA, including but not
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     Case 2:17-cv-00156-JLQ         ECF No. 19       filed 08/08/17     PageID.121 Page 9 of 10



 1          limited to each and every one of the above-cited provisions of 47 U.S.C. §
 2          227 et seq.
 3   54.    As a result of Defendant's knowing and/or willful violations of 47 U.S.C. §
 4          227 et seq., Plaintiff is entitled to an award of $1,500.00 in statutory
 5          damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)
 6          (B) and 47 U.S.C. § 227(b)(3)(C).
 7   55.    Plaintiff is also entitled to and seeks injunctive relief prohibiting such
 8          conduct in the future.
 9                                              COUNT III
10                                            NEGLIGENCE
11   56.    Plaintiff incorporates by reference all of the above paragraphs of this
12          Complaint as though fully stated herein.
13   57.    Defendant had a duty of care to Plaintiff to exercise reasonable skill and
14          care in carrying out account activities. Specifically, Defendant had a duty
15          to act reasonably when collecting an alleged debt from Plaintiff, including
16          the means and methods for contacting Plaintiff.
17   58.    By exceeding the bounds of a traditional creditor-borrower relationship,
18          Defendant’s duty to Plaintiff rose above the contractual duties provided by
19          any loan agreement.
20   59.    Defendant breached that duty by calling Plaintiff on Plaintiff’s cellular
21          telephone hundreds of times to harass and/or abuse Plaintiff and infringe
22          on Plaintiff’s privacy rights, as discussed above, and continued to call
23          despite Plaintiff’s request that the calls stop.
24   60.    Plaintiff was harmed and suffered injury as described above.
25   61.    The negligence of Defendant was a substantial and proximate factor in
26          causing Plaintiff this harm and injury described above.
27   62.    As such, Plaintiff is entitled to recover special, compensatory, and general
28          damages from Defendant.
       _________________________________________________________________________________________________
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     FIRST AMENDED COMPLAINT                         - ! 9 of !10 -    2221 Camino Del Rio S, Ste 101
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                                                                                 619-233-7770
     Case 2:17-cv-00156-JLQ        ECF No. 19       filed 08/08/17     PageID.122 Page 10 of 10



 1                                       PRAYER FOR RELIEF
 2    WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
 3    Plaintiff be awarded damages from Defendant, as follows:
 4          •      Statutory damages of $500.00 for each negligent violation of the
 5                 TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);
 6          •      Statutory damages of $1,500.00 for each knowing and/or willful
 7                 violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
 8                 U.S.C. § 227(b)(3)(C).
 9          •      A permanent injunction, restraining and enjoining Defendant from
10                 communicating with Plaintiff in a manner that violates 47 U.S.C. §
11                 227;
12          •      Actual, special, general, and compensatory damages;
13          •      Reasonable attorneys’ fees and costs of suit; and
14          •      Any and all other relief that the Court deems just and proper.
15                                           JURY DEMAND
16    63.   Pursuant to the seventh amendment to the Constitution of the United States
17          of America, Plaintiff is entitled to, and demands, a trial by jury.
18
19    Dated: August 8, 2017
                                                          Respectfully submitted,
20
21                                                         By: /s/ Joshua B. Swigart
                                                           Joshua B. Swigart, Esq.
22                                                         Sarah T. McEahern, Esq.
23                                                         HYDE & SWIGART
                                                           2221 Camino Del Rio S. Ste. 101
24                                                         Telephone: (619) 233-7770
25                                                         FAX: (800) 635-6425
                                                           Email: josh@westcoastlitigation.com
26                                                                   sm@westcoastlitigation.com
27                                                         Attorneys for Susan Embree

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